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                              IN THE DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION


 National Institute of Family and Life
 Advocates, et al.,
                                                                Case No. 16-cv-50310
                Plaintiffs,
                                                                Hon. Iain D. Johnston
         v.
                                                                Magistrate Judge Lisa A. Jensen
 Mario Treto Jr.,

                Defendant.


 Ronald Schroeder, et al.,

                Plaintiffs,                                     Case No. 17-cv-4663

         v.                                                     Hon. Iain D. Johnston

 Mario Treto Jr.,                                               Magistrate Judge Lisa A. Jensen

                Defendant.


            DEFENDANT’S AGREED MOTION TO CONSOLIDATE FOR TRIAL

       Under Federal Rule of Civil Procedure 42(a)(1), Defendant moves to consolidate National

Institute of Family & Life Advocates v. Schneider (16-cv-50310) and Schroeder v. Schneider (17-

cv-4663) for the final pretrial order, trial, and post-trial submissions as set forth below. Defendant

states as follows in support of this motion:

                                               Legal Standard

       1.      Rule 42(a) states: “If actions before the court involve a common question of law or

fact, the court may: (1) join for hearing or trial any or all matters at issue in the actions;

(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay.”
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         2.    “District courts enjoy substantial discretion in deciding whether and to what extent

to consolidate cases.” Hall v. Hall, 138 S. Ct. 1118, 1131 (2018). “Consolidation is preferred to

avoid unnecessary duplication of efforts in related cases and promote judicial economy and

efficiency. Courts should decline to consolidate if consolidation would lead to confusion or

prejudice.” Est. of W. v. Giese, No. 19-CV-1843-PP, 2020 WL 3895299, at *1 (E.D. Wis. July 10,

2020) (quotation omitted).

                                               Discussion

         3.    The Court should consolidate the NIFLA and Schroeder cases for trial under Rule

42(a)(1) because they involve common questions of law and fact. Namely, they involve the same

challenged law, same legal claims, same defendant, and substantially similar plaintiffs.

         4.    Plaintiffs in both cases challenge amendments to the Illinois Health Care Right of

Conscience Act, 745 ILCS 70/6.1, under the Free Speech and Free Exercise Clauses of the First

Amendment. NIFLA Dkt. 1; Schroeder Dkt. 1. They both allege that the amendments compel

speech in violation of their First Amendment rights.

         5.    Both cases are brought against the Secretary of the Illinois Department of Financial

and Professional Regulation in his official capacity. Id. Counsel for Defendant is the same in both

cases.

         6.    Both cases are brought by crisis pregnancy centers (“CPCs”) or health care

providers who volunteer at CPCs in Illinois. Plaintiff CPCs all provide health care services in the

forms of pregnancy testing, prenatal ultrasounds, and family planning and pregnancy options

counseling. All Plaintiffs have conscience objections to abortion and seek to dissuade pregnant

patients from having abortions. They do not inform patients about any medical benefits of abortion

and do not refer patients to health care providers for abortions. Schroeder Plaintiffs also have




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conscience objections to contraception and sterilization for the purpose of preventing pregnancy.

See id.

          7.    Although these cases have not been formally consolidated, the Court has handled

them jointly since June 2017, when the Schroeder case was transferred to this district because of

the substantially similar NIFLA case. Schroeder Dkt. 27.

          8.    The Court has issued identical rulings on motions filed in both cases, including one

ruling on Plaintiffs’ motions for summary judgment, National Institute of Family & Life Advocates

v. Schneider, 484 F.Supp.3d 596 (N.D. Ill. 2020), and one ruling on Plaintiffs’ motions to certify

for interlocutory appeal. NIFLA Dkt. 185; Schroeder Dkt. 160.

          9.    Further, discovery has been conducted jointly in these cases. The Court entered the

same confidentiality order (NIFLA Dkt. 132, 138; Schroeder Dkt. 110, 116) and set the same

discovery deadlines (NIFLA Dkt. 130, 197; Schroeder Dkt. 108, 172). The parties have relied on

the same expert testimony, with Plaintiffs sharing one of their two respective experts, Dr. Ashley

Fernandes, for their cases, and Defendant relying on one expert, Dr. Paul Burcher, who issued one

expert report that addressed both cases.

          10.   At trial, the parties will address the same underlying facts and law, including

presenting certain documents and witness testimony for both cases. For example, at trial the parties

of both cases will address the legislative history of the challenged law, common practices and

procedures of the Plaintiff CPCs, and expert testimony of Dr. Fernandes and Dr. Burcher.

          11.   Accordingly, consolidating these cases for trial would “avoid unnecessary

duplication of efforts in related cases and promote judicial economy and efficiency.” Est. of W.,

2020 WL 3895299, at *1.




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        12.     Although Schroeder Plaintiffs also have conscience objections to contraception and

sterilization, the challenges based on these objections are the same as the challenge based on the

common objection to abortion, and a consolidated trial poses no risk of “confusion or prejudice”

on this issue, particularly because this will be a bench trial. Id.

        13.      The NIFLA and Schroeder Plaintiffs agree that the cases should be joined or

consolidated for the limited purposes of the final pretrial order, trial, and submission of proposed

findings of fact and conclusions of law, subject to their request that the Court’s order specify that

(1) it does not limit the ability of Plaintiffs’ counsel to effectively represent their respective clients,

including their ability to present non-cumulative evidence or separate proposed findings of fact

and conclusions of law, or the right of Plaintiffs’ counsel to otherwise file separate motions, briefs,

and papers needed to effectively represent their respective clients: and (2) as a result of any joining

or consolidation of these cases for these stages of the litigation all of the Plaintiffs will be entitled

to rely upon the objections to evidence advanced by any of Plaintiffs’ counsel and the cumulative

evidentiary proffer of the “Plaintiffs’ side.”

        14.     Defendant reserves the right to request that the Court set limits on post-trial

submissions, including the right to request joint submissions from Plaintiffs as the Court deems

appropriate.

        For these reasons, Defendant respectfully requests that the Court consolidate the NIFLA

and Schroeder cases for trial—including for the final pretrial order, trial, and post-trial submissions

as set forth above—under Rule 42(a)(1), and grant any other relief that is equitable and just.




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Date: August 16, 2023                         Respectfully submitted,

                                              KWAME RAOUL
                                              Illinois Attorney General


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